Case 4:19-cv-07123-PJH   Document 509-6   Filed 01/09/25   Page 1 of 103




                         Exhibit E
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
 Case 4:19-cv-07123-PJH    Document 509-6   Filed 01/09/25   Page 2 of 103


1                           UNITED STATES DISTRICT COURT

2                         NORTHERN DISTRICT OF CALIFORNIA

3    ----------------------------------------x

4    WHATSAPP INC., a Delaware corporation,

5    and FACEBOOK, INC., A Delaware

6    corporation,

7                                   Plaintiffs,

8             -against-                                Civil Action No.

 9   NSO GROUP TECHNOLOGIES LIMITED                    4:19-cv-07123-PJH

10   and Q CYBER TECHNOLOGIES LIMITED,

11                                  Defendants.

12   ----------------------------------------x

13                  VIDEOTAPED STENOGRAPHIC DEPOSITION OF:
                           ANTHONY O. VANCE, Ph.D.
14                       Thursday, November 14, 2024
                              New York, New York
15                          9:09 a.m. - 5:54 p.m.
                           ***HYBRID DEPOSITION***
16

17

18

19

20

21

22                     Reported stenographically by:
                  Richard Germosen, FAPR, CA CSR No. 14391
23               RDR, CRR, CCR, CRCR, CSR-CA, NYACR, NYRCR
                 NCRA/NJ/NY/CA Certified Realtime Reporter
24                  NCRA Realtime Systems Administrator
                                Job No. 3460
25
 Case 4:19-cv-07123-PJH           Document 509-6        Filed 01/09/25   Page 3 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

1      --------------------------------------------------
2                                        P R O C E E D I N G S
3                                                   9:09 a.m.
4                                            New York, New York
5      --------------------------------------------------
6                   THE VIDEOGRAPHER:                 Stand by, please.
 7                  This is the beginning of Media Number 1
 8     in the deposition of Anthony Vance in the
 9     matter of WhatsApp, Inc., versus NSO Group
10     Technologies Limited, et al., held at King &
11     Spalding.           This deposition is being taken on
12     November 14, 2024, at approximately 9:09 a.m.
13     eastern time.
14                  I am Richard Morales, the videographer
15     on behalf of Swivel Legal Solutions.                              This
16     deposition is being videotaped at all times
17     unless specified to go off the video record.
18     All appearances will be noted on the
19     stenographic record.
20                  Will the court reporter, Rich Germosen,
21     please swear in the witness.
22                  CERTIFIED STENOGRAPHER:                    Good morning.
23     My name is Rich Germosen.                       I am a certified
24     stenographic reporter.                     My license is
25     available for inspection.
 Case 4:19-cv-07123-PJH           Document 509-6        Filed 01/09/25   Page 4 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                                                     - - -
 2                         (Whereupon, the Certified
 3     Stenographic Reporter administered the oath to
 4     the witness.)
 5                                                     - - -
 6     A N T H O N Y                O.       V A N C E,           Ph.D.,
 7     (the witness produced a State of Virginia driver's
 8     license), having been first duly sworn or affirmed,
 9     was examined and testified as follows:
10     EXAMINATION BY ATTORNEY AKROTIRIANAKIS:
11     BY ATTORNEY AKROTIRIANAKIS:
12              Q.         Good morning, Dr. Vance.
13              A.         Good morning.
14              Q.         My name is Joe Akrotirianakis.                      I
15     am an attorney on behalf of the defendants in
16     this case.            I'm going to ask you a series of
17     questions today.
18                         If you don't understand one of my
19     questions, would you please ask me to repeat
20     it or rephrase it, otherwise I'll assume that
21     you completely understood it, okay?
22              A.         Okay.
23              Q.         All right.
24                         You understand that we're here
25     because the plaintiffs in this case, WhatsApp
 Case 4:19-cv-07123-PJH           Document 509-6        Filed 01/09/25   Page 5 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     would in court.               That's what the rules
 2     require.          That's what I expect from you.
 3     We're going to have a problem if you're not
 4     going to follow the rules.
 5                  ATTORNEY CORA:              We're going to have a
 6     big problem if you take that tone with me,
 7     Joe.
 8                  ATTORNEY AKROTIRIANAKIS:                    Oh, I'm sorry
 9     about your tone.                Just --
10                  ATTORNEY CORA:              No, that's your tone.
11     You're not allowed to take that tone with me,
12     and I won't permit it so --
13                  ATTORNEY AKROTIRIANAKIS:                    You can do
14     whatever you want, counsel.
15                  Would you please repeat my question to
16     the witness?
17                  ATTORNEY CORA:              Well, the point is you
18     cannot do whatever you want, Joe.
19                  ATTORNEY AKROTIRIANAKIS:                    I'm just
20     asking -- I'm just asking questions.                              He
21     hasn't answered them.
22                  ATTORNEY CORA:              Your question is vague
23     and objectionable; compound and inappropriate.
24                  So go ahead.
25                  ATTORNEY AKROTIRIANAKIS:                    If you would,
 Case 4:19-cv-07123-PJH           Document 509-6        Filed 01/09/25   Page 6 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     please.
 2                   CERTIFIED STENOGRAPHER:                   (Complies.)
 3                         (Whereupon, the requested portion
 4     is read back by the certified stenographer as
 5     follows:
 6                         "QUESTION:           Are they a complete
 7     statement of the opinions that you formed in
 8     this case and that you intend to express?")
 9                  ATTORNEY CORA:              And I have all the same
10     objections:            It's vague, compound, and it's
11     been asked and answered.
12              A.         These two reports reflect my
13     opinions accurately as I have reviewed the
14     evidence to this point, and I reserve the
15     right to express other opinions if further
16     evidence comes to light.
17     BY ATTORNEY AKROTIRIANAKIS:
18              Q.         Are you familiar with the Federal
19     Rules of Civil Procedure?
20                  ATTORNEY CORA:              Objection to the form.
21     The witness is not a legal expert.
22              A.         I'm a lawyer, but I am casually
23     familiar with them.
24              Q.         Have you read the one that is
25     entitled:           Disclosure of Expert Testimony?
 Case 4:19-cv-07123-PJH           Document 509-6        Filed 01/09/25   Page 7 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   ATTORNEY CORA:             Objection to the form.
 2     This is irrelevant.                   He's not a legal expert.
 3              A.         You may read it to me if you wish.
 4              Q.         Do you understand my question?
 5              A.         I do understand your question.
 6              Q.         Can you answer it, please?
 7              A.         I haven't read that --
 8                  ATTORNEY CORA:              I have all the same
 9     objections.
10              A.         I'm not a lawyer and I haven't
11     reviewed the rules immediately prior to coming
12     into this room so.
13              Q.         Well, have you ever reviewed
14     Federal Rules of Civil Procedure 26(a)(2)
15     titled:         Disclosure of Expert Testimony?
16                  ATTORNEY CORA:              Objection to the form.
17     Outside the scope of his expert testimony.                                He
18     is not a lawyer, and this is badgering the
19     witness in minute 10 of the deposition.
20              A.         I have reviewed it before.
21              Q.         Okay.       And do you understand that
22     it requires for experts, who must provide a
23     written report, the report to contain a
24     complete statement of all opinions the witness
25     will express and the basis and reasons for
 Case 4:19-cv-07123-PJH           Document 509-6        Filed 01/09/25   Page 8 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     those opinions?
 2                   ATTORNEY CORA:             Objection to the form.
 3     It's outside the scope of his expert report
 4     and he is not a lawyer.                      It's also an
5      incomplete statement of the law.
6               A.         I'll just say again that this
 7     reflects my opinions of all the evidence I've
8      reviewed up to this point.
9               Q.         Okay.       So you have no other
10     opinions other than what are expressed in
11     Exhibits 1601 and 1610; is that fair?
12                   ATTORNEY CORA:             Objection to the form.
13     Mischaracterizes the witness' testimony.                               This
14     is asked and answered.
15              A.         These are my opinions as of today.
16              Q.         Okay.       And you have no other
17     opinions as of today other than as expressed
18     in Exhibits 1601 and 1610?
19                   ATTORNEY CORA:             Objection to the form.
20     Mischaracterizes the witness' testimony.
21     Asked and answered.
22              A.         I believe I've already answered
23     that question.
24              Q.         Just for the clarity of the record,
25     could you indulge us to answer it again
 Case 4:19-cv-07123-PJH           Document 509-6        Filed 01/09/25   Page 9 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     because I would disagree that you have
 2     answered it, so I'll ask it again.
 3                         You have no other opinions as of
 4     today other than as expressed in Exhibits 1601
 5     and 1610?
 6                   ATTORNEY CORA:             Objection to the form.
 7     The question is vague.
 8                  Mr. -- Professor Vance presumably has
 9     lots of opinions in his life.                          So this
10     question is unclear and it's also been asked
11     and answered.
12              A.         These are the opinions I wish to
13     give relative to this case with the evidence I
14     have at this point of time, but I reserve the
15     right to have other opinions as further
16     evidence is given to me.
17              Q.         And by these opinions, you're
18     referring to those opinions as stated in
19     Exhibits 1601 and 1610?
20              A.         Yes.
21              Q.         Do Exhibits 1601 and 1610 include
22     what you consider to be a complete statement
23     of your relevant qualifications?
24                  ATTORNEY CORA:              Objection to the form.
25              A.         These reports give an accurate
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25    Page 10 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1     consultant at Deloitte that you believe is
 2     relevant to the opinions that you intend to
 3     express in this case?
 4                   ATTORNEY CORA:             Objection to the form.
 5              A.         I think it was all relevant.
 6              Q.         Okay.       So what else would be
 7     relevant other than evaluating clients
 8     information security controls and how those
 9     controls mitigate threats?
10                  ATTORNEY CORA:              Objection to the form.
11     Asked and answered.
12              A.         I think that's accurate.                     I think
13     that's broad.              I think that includes the
14     relevant experience that's pertinent to this
15     case.
16              Q.         All right.
17                         So you're not able to point back to
18     anything else from your position as an
19     information security consultant at Deloitte
20     that is experience relevant to the opinions
21     you intend to express in this case?
22                  ATTORNEY CORA:              Objection to the form.
23     Mischaracterizes the witness' testimony.                               Your
24     question is vague and it's difficult to
25     answer.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 11 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              A.         I worked there for a period between
 2     2004 and 2005.               I worked at many clients, had
 3     many experiences.                 I think all of them were
 4     relevant to this case, and I think the
 5     description I gave you is accurate in how it
 6     relates to this case.
 7              Q.         Well, what are the experiences that
 8     you're thinking of that you think are relevant
 9     to the -- let me back up.
10                         You understand that expert
11     witnesses are allowed to testify to opinions
12     that are helpful to the trier of fact based on
13     the expert's education, training, and
14     experience; correct?
15                   ATTORNEY CORA:             Objection to the form.
16     He's not a legal -- he's not a lawyer.
17              A.         I'm not a lawyer, but I'll accept
18     that.
19              Q.         Okay.       So I'm asking you:               What
20     experiences from your position as an
21     information security consultant at Deloitte do
22     you believe are relevant to your opinions that
23     you intend to express in this case?
24                  ATTORNEY CORA:              Objection to the form.
25     Asked and answered.                   You don't like his
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25    Page 12 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1     answer, but he's answered it now three times.
 2              A.         So this is 20 years ago.                     I can't
 3     recall all the experiences I had at this time,
 4     and if I could, it would exhaust your seven
 5     hours, but I think the answer I gave you is
 6     sufficient to tell you what is relevant to my
 7     opinions in this case.
 8              Q.         Okay.       So you don't intend to
 9     express anything more about your experience as
10     a information security consultant at Deloitte
11     as supportive of your ability to express the
12     opinions that you intend to express in this
13     case?
14                  ATTORNEY CORA:              Objection to the form.
15     That question is vague, confusing, and to the
16     extent you're trying to give him some sort of
17     legal instruction, I strongly object, and you
18     should ignore it.
19                  If you want to ask specific questions
20     about his experience specifically, you can do
21     that.        He already answered your questions.                           He
22     said his entire year from 2004 to 2005 is
23     relevant to his expert opinion.
24              A.         So I've had a broad experience, and
25     I can't -- I can't encapsulate in a very short
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25    Page 13 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1     looking at security from a societal level.                                It
 2     involves a number of dimensions of security,
 3     such as economic security, food security, and
 4     cybersecurity, and many others, and in data
 5     governance and privacy, it looks at various
 6     risks involved with large data sets and large
 7     online systems.
 8                         I can go on, but I think it's
 9     sufficient.
10              Q.         You said that you taught a class
11     called defending against cybercrime?
12              A.         Yes.
13              Q.         And what types of cybercrime were
14     you teaching about?
15              A.         Hacking.
16              Q.         Such as?
17              A.         Such as software exploitation;
18     network intrusion; insider threats.                              There are
19     many crimes, but those are -- those are some
20     of them.          Those are the main ones.
21              Q.         Your CV lists different areas of
22     research that you've undertaken?
23              A.         Yes, it does.
24                   ATTORNEY CORA:             I'll caution the
25     witness to just wait for the questioner to ask
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 14 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

1      a question before answering.
2                   THE WITNESS:             Sorry.           I thought that
3      was a question.
4               Q.         For example, one of your
 5     specialties is behavioral and organizational
6      cybersecurity; is that right?
7               A.         That's right.
 8              Q.         And you've published papers, for
 9     example, on predicting user susceptibility to
10     phishing websites?
11              A.         Yes.
12              Q.         And why employees keep ignoring
13     workplace cybersecurity rules?
14              A.         Yes.
15              Q.         Your second specialty is
16     neuroscience applications to cybersecurity; is
17     that right?
18              A.         Yes.
19              Q.         What does that mean?
20              A.         It grows out of behavioral --
21     people's behavior relative to cybersecurity.
22     It looks at some of the neural biases that we
23     have, how we process security warnings, for
24     example, in the brain and how that influences
25     subsequent behavior.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 15 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              Q.         And you've published papers
 2     measuring the effects of repeated computer
 3     security warnings with a functional MRI?
 4              A.         Yes.
 5              Q.         What does that mean?
 6              A.         Which row are you looking at?
 7     Which line?
 8              Q.         It's Number 29.               Repetition of
 9     computer security warnings results in
10     differential repetition supression effects as
11     we deal with functional MRI?
12              A.         Yeah, so this is a part of a
13     research stream that spans multiple papers,
14     but it's about how people respond to security
15     messages and how our neural response to
16     security messages changes over time and how we
17     tune them out over time.
18              Q.         That's the basic idea; right?
19              A.         That's the basic idea.
20              Q.         It just becomes background noise?
21              A.         Like, for example, your brains have
22     tuned out the sound of the air conditioner,
23     but now that I've mentioned it, you're
24     focusing on it.               So we do the same thing with
25     warnings.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 16 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

1               Q.         You wrote a publication about:                      The
2      Habituation of the Brain to Security Warnings.
3      It's Number 23?
4               A.         Yeah, that's part of the same --
 5                   ATTORNEY CORA:             He needs to ask a
 6     question.
 7                   THE WITNESS:            Sorry.
 8              Q.         Is that correct, Dr. Vance?
 9              A.         Sorry, ask the question again.
10              Q.         You wrote a paper on The
11     Habituation of the Brain to Security Warnings;
12     correct?
13              A.         Yes.
14              Q.         All right.
15                         And that's part of the same thread
16     that goes through a lot of these publications
17     here, basically that over security warning
18     results in people tuning out the warning?
19                   ATTORNEY CORA:             Objection to the form.
20              A.         Yes.
21              Q.         What is the neurosecurity lab at
22     BYU?
23              A.         That is a team of researchers, of
24     which I was a member, and we studied the
25     problem of cybersecurity issues through the
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25         Page 17 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                    Job 3460
     ANTHONY VANCE on 11-14-2024

 1     lens of neuroscience.                    On our team were
 2     several neuroscientists and we collaborated on
 3     those problems.
 4                  ATTORNEY AKROTIRIANAKIS:                          1604.
 5                   CERTIFIED STENOGRAPHER:                      Number 1604.
 6                                                    -       -   -
 7                         (Whereupon, document entitled BYU
 8     Lab, Neurosecurity, is received and marked as
 9     Exhibit 1604 for Identification.)
10                                                    -       -   -
11     BY ATTORNEY AKROTIRIANAKIS:
12              Q.         Do you recognize this as the --
13     from the website of the BYU neurosecurity lab?
14              A.         I do.
15              Q.         I see a younger Dr. Vance on
16     Page 4.
17                   ATTORNEY CORA:             Objection.
18              Q.         Is that right, Dr. Vance?
19              A.         Yes, chronologically.                       Physically
20     too.
21              Q.         Your research, as you wrote here,
22     focuses on how to help individuals and
23     organizations improve their cybersecurity
24     posture, particularly from behavioral,
25     organizational, and neuroscience perspectives;
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 18 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     spyware.
 2              Q.         Have you written about lawful --
 3                   ATTORNEY CORA:             Wait a second.           The
4      witness was about to complete his answer.
5               A.         I was mid-sentence, but a number of
 6     my publications talk about security incidents
7      that involve exploitation.
8               Q.         You've not written specifically
 9     about commercial spyware; correct?
10                   ATTORNEY CORA:             Objection to the form.
11     Asked and answered.
12              A.         I've not written specifically about
13     software exploitation using spyware, but I
14     have written papers that involve software
15     exploitation as part of incidents.
16              Q.         So if I read the, I don't know, 80
17     or so publications here, would I find a
18     reference to commercial spyware?
19                   ATTORNEY CORA:             Objection to the form.
20              A.         I can't recall whether I discuss
21     that term sitting here today.                          It's quite
22     possible, but it certainly involves
23     exploitation in hacking.
24              Q.         Okay.       As far as you recall,
25     nothing about commercial spyware?
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 19 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   ATTORNEY CORA:             Objection to the form.
 2     Asked and answered.
 3              A.         I'll say again if you'd like.                     As I
4      sit here, I cannot recall whether I used the
5      term "spyware," but I certainly reference
6      hacking and software exploitation in my
7      publications.
8               Q.         Do you have any publications about
 9     lawful intercept technology?
10                   ATTORNEY CORA:             Objection to the form.
11              A.         No.
12              Q.         Do you have any publications about
13     the benefits or risks of unbreakable
14     end-to-end encryption?
15                   ATTORNEY CORA:             Objection to the form.
16              A.         I do not talk about end-to-end
17     encryption in my research directly, but those
18     are topics, as well as the topic of
19     exploitation, in addition to lawful intercept,
20     those are topics I commonly refer to in my
21     classes.
22              Q.         Have you written anything about the
23     benefits or risks of unbreakable end-to-end
24     encryption?
25                   ATTORNEY CORA:             Objection to the form.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 20 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     Asked and answered.
 2              A.         I haven't written directly about
 3     that, but that is a topic that's featured in
 4     several of my classes.
 5              Q.         Have you written indirectly about
 6     it?
 7                   ATTORNEY CORA:             Objection to the form.
 8              A.         I think so, yes.                   I don't recall
 9     sitting here, which publications, but --
10              Q.         But you think you have.                   You just
11     don't recall?
12              A.         I think so.            It's just foundational
13     security control.
14              Q.         All right.           But you don't know
15     which of any of these relate to the benefits
16     or risks of unbreakable end-to-end encryption?
17                   ATTORNEY CORA:             Objection to the form.
18              A.         I can't recall which of these
19     publications refer specifically to the
20     benefits of end-to-end encryption, however,
21     that's a foundational control that very likely
22     appears in my publications.                            But I can say
23     it's directly addressed in a number of my
24     courses.
25              Q.         Have you ever written about the
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 21 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     differences between lawful intercept or lawful
 2     enforcement technologies and exploitation
 3     software?
 4                   ATTORNEY CORA:             Objection to the form.
 5              A.         My answer is similar to the one I
 6     gave previously, that I haven't written about
7      that specifically, but that many of my courses
8      refer to this issue.
9               Q.         Meaning, that you've debated with
10     your students the differences between lawful
11     intercept or lawful enforcement technologies
12     and exploitation software?
13                   ATTORNEY CORA:             Objection to the form.
14     Mischaracterizes the witness' testimony.
15              A.         In these courses, I've laid out the
16     various equities involved, some of the
17     interests involved on various sides of the
18     debate, some of the technology involved, the
19     ethical issues involved, victims involved.
20              Q.         On both sides of the issue?
21              A.         Yes.
22              Q.         Okay.       And what do you consider to
23     be the equities involved in the favor lawful
24     intercept and law enforcement technology?
25                   ATTORNEY CORA:             I would --
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 22 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              Q.         Those are unbreakable end-to-end
 2     encryption?
 3                   ATTORNEY CORA:             Objection to the form.
 4              A.         There are arguments about the need
 5     for government to access communications of
6      suspects.
7               Q.         Did you finish your answer?
 8              A.         Yes.
 9              Q.         I mean, that happens all the time;
10     right?
11              A.         Yes.
12                   ATTORNEY CORA:             Objection to the form.
13              Q.         Quite lawfully; correct?
14              A.         Quite lawful what?
15              Q.         Quite lawfully governments access
16     communications of suspected criminals and
17     terrorists?
18                   ATTORNEY CORA:             Objection to the form.
19     Outside the scope of his expert opinion.
20              A.         That's outside the scope of my
21     report, but I know that's -- that is something
22     that happens frequently.
23              Q.         And lawfully?
24                   ATTORNEY CORA:             Objection to the form.
25     He's not a legal expert either.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 23 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              A.         I'm not a legal expert, but
 2     certainly under the parameters of law, but
 3     there is also a number of cases where
 4     government have abused their access, intercept
 5     technology to commit crimes or abuses against
 6     noncriminal groups.
 7              Q.         You understand that there are
 8     entire legal regimes in the United States
 9     about the lawful intercept of communications
10     between expected criminals; correct?
11                   ATTORNEY CORA:             Objection to the form.
12     Lacks foundation.                 Outside the scope of his
13     expert opinion.               To the extent it calls for a
14     legal conclusion, it's inappropriate.                             He's
15     not a lawyer.
16              A.         I'm not a lawyer, so I don't want
17     to opine about legal issues involved here.
18              Q.         Well, do you opine about them to
19     your students?
20              A.         I wasn't finished.
21              Q.         Okay.       Go ahead.              Finish and then
22     we'll get to my question.
23                         Go ahead.
24                  ATTORNEY CORA:              Please don't badger the
25     witness.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 24 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              A.         So I don't mean to opine about the
 2     legal issues involved here, but I will point
 3     out that cybersecurity is a multinational
 4     issue, and the United States may have a system
 5     of determining what is lawful intercept, but
 6     so does -- so do many other countries,
 7     including China, including Russia, including
 8     Iraq, including Iran, and we just can't speak
 9     about one country without recognizing that the
10     very same intercept technologies may be used
11     by regimes around the world for a variety of
12     purposes, lawful and otherwise.
13              Q.         Do you know about the lawful
14     intercept regimes of any country?
15                   ATTORNEY CORA:             Objection to the form.
16              Q.         Including the ones you mentioned?
17                  ATTORNEY CORA:              Objection to the form.
18              A.         I'm not a lawyer, so I'm not going
19     to opine about the specifics of their -- of
20     their lawful intercepts procedures or rules or
21     processes, but I know they have them and I
22     know they use intercept technologies for a
23     variety of purposes, both lawful and purposes
24     that involve abuse.
25              Q.         Okay.       So my question was whether
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 25 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     you know about the lawful intercept regimes of
 2     any country?
 3                   ATTORNEY CORA:             Objection to the form.
 4     Your question embeds the word "lawful."
 5              A.         I'm not a lawyer, so I'm not going
 6     to opine about the laws of various countries,
 7     but I know that they use intercept
 8     technologies within their legal frameworks and
 9     that they use it for legal purposes, but also
10     to commit abuses against -- in some cases,
11     commit abuses against noncriminal groups.
12              Q.         And what countries are you accusing
13     of committing abuses against noncriminal
14     groups?
15                   ATTORNEY CORA:             Objection to the form.
16     Mischaracterizes the witness' testimony.
17     Lacks foundation.
18              A.         I'm not making accusations, but
19     what I am doing is referring to a number of
20     incidents that have been documented in the
21     public press.              For example, on Page 8 and 9 of
22     my report, I list some examples.                          This is a
23     nonexclusive list of examples, but this list
24     includes various governments, including
25     Morocco, including Mexico, including
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 26 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     answer.
 2                         Now, I'm asking the question again.
 3     Where in your publications have you made --
 4     where in your publications have you written
 5     about vulnerable populations or civil society,
 6     if anywhere?
 7                   ATTORNEY CORA:             Objection to the form.
 8     The witness gave an answer.                            It was asked and
 9     answered.           Just because you don't like it
10     doesn't mean it's not responsive.
11              A.         I answered that question and I
12     could give it again if you'd like.
13              Q.         I just want to know where, if
14     anywhere, in your publications you have
15     written about vulnerable populations or civil
16     society?
17                   ATTORNEY CORA:             There is no question
18     pending right now.
19              Q.         Do you understand my question,
20     Dr. Vance?
21                   ATTORNEY CORA:             There is no question
22     pending.
23              A.         Would you restate your question?
24              Q.         Where, if anywhere, in your
25     publications have you written about vulnerable
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 27 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     populations or civil society?
 2                   ATTORNEY CORA:             Objection to the form.
 3     Asked and answered.
 4              A.         I've already given an answer on
 5     this question.
6               Q.         You have to answer it again.
 7              A.         I will.
 8              Q.         Go ahead.
 9              A.         But it will be the same answer.
10              Q.         Okay.       Go ahead.
11                   ATTORNEY CORA:             Objection to the form.
12              Q.         Just point to the numbers where I
13     would read these publications and find
14     references either to vulnerable populations or
15     civil society, if there are any?
16                   ATTORNEY CORA:             Objection to the form.
17                   There is also no question pending.
18              Q.         Do you write about civil society or
19     vulnerable populations in any of your numerous
20     publications that we see here in your CV?
21                   ATTORNEY CORA:             Objection to the form.
22              A.         I do not write about civil society
23     specifically, but my research is -- much of my
24     research involves vulnerable groups of some
25     kind or another, but more specifically, my
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 28 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     teaching, I talk about these topics in depth.
 2              Q.         Okay.       In the publications of
 3     vulnerable populations?                      Yes or no?
 4                   ATTORNEY CORA:             Objection to the form.
 5                   Yes or no what?
 6              Q.         You said that you haven't written
 7     about civil society.                   I'm asking you now if
 8     you've written about vulnerable populations?
 9                   ATTORNEY CORA:             Objection to the form.
10              Q.         Do you understand the question,
11     Dr. Vance?
12              A.         I do.
13                  ATTORNEY CORA:              It's also asked --
14     objection to the form.                     Asked and answered.
15                  ATTORNEY AKROTIRIANAKIS:                    Okay.
16              Q.         So which publications, if any, do
17     you write about vulnerable populations?
18                  ATTORNEY CORA:              Objection to the form.
19     Asked and answered.
20              A.         Many of my publications relate to
21     vulnerable populations of some extent or
22     another.
23              Q.         All right.
24                         Why don't you give us just three
25     examples.           Pick the best three.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 29 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   ATTORNEY CORA:             Objection to the form.
 2                  I think you need to ask a question.
 3     There is no question pending.                          Why don't you
 4     give us just three examples --
 5                  ATTORNEY AKROTIRIANAKIS:                    Please stop
 6     talking and let him answer the question,
 7     counsel.
 8                   ATTORNEY CORA:             You have to ask a
 9     question.
10                  ATTORNEY AKROTIRIANAKIS:                    There is a
11     question pending.
12                  ATTORNEY CORA:              What's your question?
13     BY ATTORNEY AKROTIRIANAKIS:
14              Q.         Do you understand the question,
15     Dr. Vance?
16                  ATTORNEY CORA:              What is the question
17     that you have pending?
18              Q.         Do you understand my question,
19     Dr. Vance?
20              A.         So Rich can read this back if you'd
21     like, but I believe your question is:                             Which
22     of your publications have you addressed
23     vulnerable groups specifically?
24              Q.         Yes.      You understood my question.
25                         Can you answer it, please?
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 30 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              A.         My publications do not address
 2     vulnerable publications [sic] directly, but
 3     they involve vulnerable groups.                          They're
 4     definitely related to vulnerable groups, and I
 5     don't recall -- I don't recall if some of this
 6     research directly addresses those vulnerable
 7     groups, but I'll say again that my teaching
 8     directly addresses these topics in-depth.
 9              Q.         All right.
10                   ATTORNEY AKROTIRIANAKIS:                   I'm going to
11     move to strike everything after, My
12     publications do not address vulnerable
13     populations directly.
14                   ATTORNEY CORA:             And we object to that.
15                   ATTORNEY AKROTIRIANAKIS:                   Uh-huh.
16     BY ATTORNEY AKROTIRIANAKIS:
17              Q.         Have you ever written about law
18     enforcement or anti-terrorism investigations?
19                   ATTORNEY CORA:             Objection to the form.
20              A.         Not directly.
21              Q.         Have you ever written about
22     military operations or intelligence
23     operations?
24                  ATTORNEY CORA:              Objection to the form.
25              A.         No.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 31 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              Q.         Have you ever held a position in a
 2     law enforcement agency?
 3              A.         No.
 4              Q.         Have you ever held a position in an
 5     anti-terrorism agency?
 6              A.         No.
 7              Q.         Have you ever served in the
 8     military?
 9              A.         No.
10              Q.         Have you ever held a position in an
11     intelligence agency?
12              A.         No.
13                   ATTORNEY CORA:             Objection to the form.
14              Q.         Have you ever participated in a law
15     enforcement investigation?
16                  ATTORNEY CORA:              Objection to the form.
17              A.         I've participated in law
18     enforcement investigation that overlapped with
19     a legal case in which I was an expert, and I
20     believe they relied on my analysis and
21     conclusions.
22              Q.         Have you ever -- what was the
23     suspected crime in that investigation?
24              A.         This is the legal matter which is
25     listed in my vitae, which is the matter of Fox
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 32 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     versus Prodigy and the crime involved is theft
 2     of intellectual property.
 3              Q.         Any other crimes that you've
 4     investigated?
 5              A.         No.
 6                   ATTORNEY CORA:             Objection to the form.
 7              Q.         So no drug trafficking, no human
 8     trafficking, no child sex trafficking, nothing
 9     like that?
10                   ATTORNEY CORA:             Objection to form.
11              A.         I listed -- I mentioned the one
12     involvement with law enforcement.
13              Q.         Okay.       Have you ever participated
14     in an anti-terrorism investigation?
15                  ATTORNEY CORA:              Objection to the form.
16     Asked and answered.
17              A.         No.
18              Q.         Have you ever participated in a
19     military or intelligence operation?
20              A.         No.
21              Q.         Do you have any formal training or
22     certifications in law enforcement
23     investigations, anti-terrorism investigations,
24     military or intelligence operations?
25              A.         I'm a cybersecurity expert, and
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 33 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     many of my expertise overlaps with law
 2     enforcement as it relates to cybercrime.
 3              Q.         Do you have any formal training or
 4     certification in law enforcement or
 5     anti-terrorism investigation or military or
 6     intelligence operations?
 7                   ATTORNEY CORA:             Objection to the form.
 8     Asked and answered.
 9              A.         I just gave an answer to that
10     question I believe.
11              Q.         Okay.       What certificates do you
12     hold?
13              A.         Certifications?
14              Q.         Yeah.
15              A.         I hold a Security+ certification --
16     sorry, a Network+ certification, but my focus
17     is not obtaining certifications.
18              Q.         So does the Network+ certification
19     relate to anti-terrorism or military or
20     intelligence operations?
21                  ATTORNEY CORA:              Objection to the form.
22              A.         Insofar as those operations involve
23     cybersecurity, yes.
24              Q.         Okay.       Which aspects of
25     anti-terrorism or military or intelligence
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 34 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     operations are you referring to?
 2                   ATTORNEY CORA:             Objection to the form.
 3     Mischaracterizes the witness' testimony.
 4              A.         So those operations, as far as they
 5     involve cybersecurity, would involve
6      intrusion, would include incident response,
7      and protections against those attacks.
8               Q.         Have you published articles or
 9     research papers on law enforcement or
10     anti-terrorism investigations or military or
11     intelligence operations?
12              A.         No.
13              Q.         Have you ever provided consulting
14     services to any anti-terrorism or military or
15     intelligence organization?
16                   ATTORNEY CORA:             Objection to the form.
17              A.         No.
18              Q.         Have you ever provided consulting
19     services to any National Security
20     organization?
21                   ATTORNEY CORA:             Objection to the form.
22              A.         I've spoken at events sponsored by
23     intelligence agencies, namely the FBI.
24              Q.         You spoke to the FBI about National
25     Security?
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 35 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   ATTORNEY CORA:             Objection to the form.
 2     Mischaracterizes his testimony.
 3              A.         So I've spoken at conferences
 4     sponsored by intelligence agency and namely
5      the FBI about cybersecurity because there is
6      significant overlap between cybersecurity and
7      law enforcement interests.
8               Q.         I agree with that.
 9                         What did you talk about?
10              A.         I talked about access and violation
11     of access.
12              Q.         Meaning what?
13              A.         Meaning how employees with broad
14     access rights violate those access rights
15     and -- and exploit the information of their
16     employer.
17              Q.         In a way that could comprise
18     National Security in the United States?
19                   ATTORNEY CORA:             Objection to the form.
20              A.         That is certainly applicable.
21              Q.         Any other topics to which you've
22     spoken on National Security?
23                   ATTORNEY CORA:             Objection to the form.
24              A.         I don't speak on National Security
25     specifically.              I speak about cybersecurity and
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 36 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                         - - -
 2                         (Clarification requested by the
 3     stenographer.)
 4                         - - -
 5                   ATTORNEY AKROTIRIANAKIS:                   I thought I
 6     said allowed, A-L-L-O-W-E-D.
 7                   ATTORNEY CORA:             And I'm going to object
 8     to the form.             Also to the extent it calls for
 9     a legal conclusion.
10              A.         I'm not familiar with all of the
11     instances of what is allowed or not in these
12     two trials.
13              Q.         I'm sorry, you said you're not
14     familiar or you are familiar?
15              A.         I am not.
16              Q.         Okay.
17                         Do you know whether either the VOX
18     or the Ryanair court has limited or excluded
19     the opinions you would be allowed to offer?
20                   ATTORNEY CORA:             Objection to the form.
21              A.         Yes, in both cases portions of my
22     testimony were excluded.
23              Q.         In both of those cases you've
24     testified on behalf of the plaintiff at
25     deposition; correct?
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 37 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              A.         That's correct.
 2              Q.         And in the Ryanair case, you
 3     submitted a rebuttal report where you offered
 4     opinions about whether the access in that case
 5     was authorized or unauthorized; is that right?
 6                   ATTORNEY CORA:             Objection to the form.
 7              A.         I don't think so.                  Part of the
 8     confusion is that unauthorized access is a
 9     term of art in cybersecurity and has been
10     since the early '70s, whereas the Computer
11     Fraud and Abuse Act is a 1980s law that's
12     subsequent.            So there is confusion over
13     terminology, but my report does not attempt to
14     make any legal conclusion, including the CFAA.
15              Q.         Okay.       And, in other words, you're
16     not in that case, the Ryanair case, expressing
17     an opinion about whether the access at issue
18     was unauthorized within the meaning of the
19     CFAA; right?
20              A.         My scope for that case was to offer
21     opinions about whether the defendants
22     improperly accessed Ryanair's systems,
23     obviating controls that Ryanair had set up and
24     had extracted information.
25                         So I give opinion relative to those
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 38 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     points of view, which in cybersecurity can be
 2     called unauthorized access, but it was not my
 3     purpose to make legal conclusions about those
 4     activities.
 5              Q.         All right.
 6                         So in the Ryanair case, you were
 7     not expressing an opinion about whether the
 8     access was unauthorized within the meaning of
 9     the CFAA; am I correct?
10                   ATTORNEY CORA:             Objection to the form.
11     Asked and answered.
12              A.         I was clear in that report about my
13     purpose and I was expressly clear that I was
14     not making an opinion about the CFAA, but did
15     talk about unauthorized access and called it
16     hacking and gave definitions, popular
17     definitions for both of those terms.
18              Q.         And in this case, are you
19     expressing an opinion about whether access was
20     either authorized or unauthorized as that term
21     is used in the Computer Fraud and Abuse Act?
22                  ATTORNEY CORA:              Objection to the form.
23              A.         No.
24              Q.         Have you ever been engaged by a
25     party who was a defendant in a lawsuit to
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 39 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     express an opinion?
 2                   ATTORNEY CORA:             Objection to the form.
 3              A.         No.
 4              Q.         Have you ever issued a report in
 5     which you expressed an opinion about whether
 6     access was either authorized or unauthorized
 7     within the meaning of the Computer Fraud and
 8     Abuse Act?
 9                   ATTORNEY CORA:             Objection to the form.
10              A.         In my view, no, however in the VOX
11     matter, I rebutted an expert, namely -- his
12     name is Orin Kerr and he is a law professor,
13     and I was asked to rebut his opinion, which
14     was essentially a legal opinion, which was
15     later excluded.
16                         And in that report, I discussed
17     this confusion of terms "unauthorized access"
18     as used in the cybersecurity field and in the
19     law and gave my view that I was talking about
20     cybersecurity from the cybersecurity
21     perspective -- sorry, unauthorized access from
22     the cybersecurity perspective and that opinion
23     was excluded, both of them, Mr. Kerr and my
24     own.
25              Q.         And were any other opinions that
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 40 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     of interest, then I could see myself doing it
 2     again.
 3              Q.         And is this case of interest to
 4     you?
 5              A.         It is.
 6              Q.         What is it about this case that
 7     makes it interesting to you?
 8              A.         There are many aspects of this
 9     case.        One is, it's a multinational case.                         It
10     involves a debate about exploitation software
11     and the harms of exploitation software, and
12     that's right in the area of my expertise, and
13     I just have an interest in the public debate
14     and I'll leave it there.
15              Q.         What side of the debate do you come
16     down on?
17                  ATTORNEY CORA:              Objection to the form.
18              A.         I don't think it's fair to pose
19     this debate as a dichotomy.                            I think both
20     sides have valid points, valid interests.
21                         Obviously, I have an opinion here
22     supporting plaintiffs, and I give my reasons
23     for that.
24              Q.         What are the -- you used the term
25     "I think both sides have valid points, valid
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 41 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     interests."            How do you see those?
 2                   ATTORNEY CORA:             Objection to the form.
 3     Also objection to the extent it exceeds the
 4     scope of his expert testimony and lacks
 5     foundation.
 6              A.         So -- well, first of all, the
 7     larger debate is outside the scope of my
 8     report and my rebuttal report, the whole
 9     extent of it, but I grant that there are
10     instances where governments may need to
11     collect information from various individuals,
12     but at the same time I can see the significant
13     dangers of these technologies.
14              Q.         What are the instances that you're
15     aware of where governments may need to collect
16     information from various individuals?
17                   ATTORNEY CORA:             Objection to the form.
18              A.         This is not something I render an
19     opinion on in my report.                       It's outside the
20     scope of what I've been asked to opine on and
21     also outside the scope my expertise.
22              Q.         Okay.       But what are the instances
23     that you're aware of in which governments may
24     need to collect information from various
25     individuals?
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 42 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   ATTORNEY CORA:             Objection to the form.
 2     Also, outside the scope of his expert opinion
 3     as he just said.
 4              A.         So it's outside the scope of my
 5     expert opinion and outside the scope of these
6      two reports, but part of this could be the
7      investigation of individuals suspected of
8      various crimes.
9               Q.         Can you give any examples of the
10     types of crimes?
11                   ATTORNEY CORA:             Objection to the form.
12     Calls for a legal conclusion.                          Lacks
13     foundation.            Outside the scope of the expert
14     testimony.
15              A.         It's outside the scope of this
16     testimony, of my testimony, and it's also an
17     open set.           It's basically any level of
18     criminality, if there is a range of crimes
19     that could possibly be investigated.
20              Q.         Can you give some examples then?
21              A.         I --
22                   ATTORNEY CORA:             Objection to the form.
23     All the same objections.
24              A.         I don't give examples -- I'm not
25     sure if I do give examples of legitimate uses.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 43 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     I certainly give examples of what I view as
 2     inappropriate uses, but there is all kinds of
 3     crimes that could be investigated.                            Like, for
 4     example, I have here.                    Where is this?
 5              Q.         At which exhibit?
 6              A.         This is Exhibit 1610.
 7              Q.         Okay.       Go ahead.              And which page
8      are you on?
9               A.         This is Page 9.               So Expert Town
10     gave an opinion pointing to Mr. Guzman, known
11     as El Chapo, and how he was investigated for
12     drug-related crimes by Mexico.
13              Q.         Okay.       So that's an example of --
14     cartel level drug trafficking would be an
15     example of a crime that could be investigated
16     using the type of technologies that we're
17     talking about in this case?
18                   ATTORNEY CORA:             Objection to the form.
19              A.         That's outside my expertise, but
20     that's potentially such a crime.
21              Q.         Do you believe that that's an
22     instance where a government may need to
23     collect information from various individuals?
24                   ATTORNEY CORA:             Objection to the form.
25              A.         I'm not offering an opinion about
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25    Page 44 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1     that.
 2              Q.         Right.        But even if you're not, you
 3     know, offering an opinion about it, is it your
 4     belief that cartel level drug trafficking is
 5     an instance where a government may need to
 6     collect information from individuals?
 7                   ATTORNEY CORA:             Objection to the form.
 8     Calls for speculation.                     It's an incomplete
 9     hypothetical.              It lacks foundation.                  Outside
10     the scope of his expert opinion.
11              A.         That's not my belief, because I
12     don't have an opinion about that, but I can
13     see that that is a documented instance where
14     governments have used intercept technology
15     against a criminal.
16              Q.         Okay.       Are you aware of any other
17     instances where governments have used
18     intercept technology to investigate or
19     prosecute criminal activity?
20                   ATTORNEY CORA:             Objection to the form.
21              A.         You mentioned the case of
22     San Bernardino.               That would be another one.
23              Q.         The terrorist attack in
24     San Bernardino earlier this century?
25              A.         That's right.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 45 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              Q.         Any other crimes you can think of?
 2                   ATTORNEY CORA:             Objection to the form.
 3              A.         Not at the moment.
 4              Q.         Do you know -- you said you read
 5     the testimony of Mr. Robinson; right?
 6              A.         Robinson?
 7              Q.         Robertson maybe?                   Is a gentleman
 8     who is employed by Facebook?
 9                   ATTORNEY CORA:             Objection to the form.
10              Q.         I thought that you listed
11     earlier --
12              A.         Which -- which -- talking about
13     Andrew?
14              Q.         Yeah, Andrew Robinson.                   Is it
15     Robinson or Robertson?                     I don't mean to
16     identify him incorrectly.
17                  ATTORNEY DAWSON:                Robinson.
18              A.         Well, let me look.
19              Q.         Andrew Robinson.                   Goes by Drew.
20              A.         Yes, I did read his deposition.
21              Q.         Okay.       Did you read the -- did you
22     read his entire deposition?
23              A.         As I recall, yes.
24              Q.         Did you read the parts where he was
25     talking about the investment that Meta and
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25    Page 46 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1              A.         What do you mean?
 2                   ATTORNEY CORA:             Objection to the form.
 3     Calls for speculation.
 4              A.         Would you clarify in how it may be
 5     used anonymously?
 6              Q.         Well, do you know whether you have
 7     to provide any information about yourself in
 8     order to use WhatsApp?
 9                   ATTORNEY CORA:             Objection to the form.
10     Outside the scope of his expert testimony.
11              A.         I don't have an opinion about that.
12     I don't recall the specific piece of
13     information that WhatsApp requires when you
14     sign up.
15              Q.         You don't know?
16              A.         I don't recall at this moment.
17              Q.         Okay.       You do know that WhatsApp
18     collects very little, if any, information
19     about its users?
20                  ATTORNEY CORA:              Objection to the form.
21     This is asked and answered.                            It lacks
22     foundation.
23              A.         As I said, I don't recall the
24     specific information that WhatsApp requires of
25     its users.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 47 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              Q.         If any?
 2                   ATTORNEY CORA:             Objection to the form.
 3              A.         I'll say it again.                 I don't
 4     remember the specific information that
 5     WhatsApp requires of its users.
 6              Q.         Do you agree that a government has
 7     an interest in protecting the public?
 8                   ATTORNEY CORA:             Objection to the form.
 9     It's vague.            It's outside the scope of his
10     expert testimony.
11              A.         Protecting citizens is one of the
12     interests of governments, but there are also
13     potentials for government abuse.                          When we talk
14     about governments and their interests, we have
15     to recognize that there are approximately 200
16     governments around the world, countries,
17     sovereign states that have different agendas,
18     different human rights interests, and for that
19     matter different human rights abuse records.
20     And so when we talk about governments and
21     their capabilities, we have to acknowledge
22     that it is a range of possibilities.
23              Q.         Well, you've studied the
24     limitations on the appropriate use of Pegasus
25     by NSO's customers?
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 48 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   ATTORNEY CORA:             Objection to the form
 2     and there is no question.
 3              A.         Say that again.
 4              Q.         Have you studied the limitations
 5     that are placed on the appropriate use of
 6     Pegasus by NSO's customers?
 7                   ATTORNEY CORA:             Objection to the form.
 8     Lacks foundation.
 9              A.         I don't recall seeing specific
10     limitations that NSO imposes on its customers.
11              Q.         Do I recall correctly that you
12     wrote about end user license certifications
13     licensing by NSO's government and those types
14     of safeguards?
15              A.         They'd be --
16                  ATTORNEY CORA:              Objection to the form.
17                                                     - - -
18                         (Unintelligible, simultaneous
19     testimony interrupted by the certified
20     stenographer.)
21                                                     - - -
22                  CERTIFIED STENOGRAPHER:                    I need one at
23     a time, please.
24                  ATTORNEY CORA:              I'm going to object on
25     the form.           It mischaracterizes his report to
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 49 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     the extent he's trying to say he wrote
 2     something differently from what he did.
 3              A.         So that is not the focus of my
 4     report.         I understand that the expert
 5     witnesses in this case supporting NSO have
 6     opined on those matters.
 7              Q.         Do you know whether NSO or the
 8     Israeli government take into consideration
 9     potential customers' human rights record when
10     deciding whether or not to license Pegasus to
11     that country?
12                   ATTORNEY CORA:             Objection to the form.
13     Calls for rank speculation.                            Lacks foundation.
14              A.         As I recall, NSO has made
15     statements to that effect, however, I also
16     detail on Page 8 through Page 10 abuses of
17     Pegasus.          So we're left to reconcile what NSO
18     has publicly said about its supposed
19     limitations and to whom they sell Pegasus with
20     the demonstrable record of the abuses of
21     Pegasus around the world.
22                         So given those two and given that
23     NSO is not forthcoming with its list of
24     customers or the specific technological
25     controls that are imposed on Pegasus
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 50 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     customers, I'm led to conclude from the record
 2     that NSO, Pegasus has been used for a number
 3     of human rights abuses.
 4              Q.         On how many occasions do you
 5     understand that Pegasus has been used as a
 6     legitimate law enforcement counterterrorism
 7     tool?
 8                   ATTORNEY CORA:             Objection to the form.
 9     Lacks foundation.                 Calls for speculation.
10              A.         It's outside the scope of my report
11     and also I don't believe Pegasus has
12     documented a set of instances.
13              Q.         So you don't know what the number
14     is of times that Pegasus has been used as a
15     legitimate law enforcement or counterterrorism
16     tool?
17                  ATTORNEY CORA:              Objection to the form.
18     Lacks foundation.                 Calls for speculation.                And
19     there is no question.
20              A.         Pegasus hasn't published those
21     types of instances.                   If we had such instances,
22     this debate would be a lot clearer.
23              Q.         Okay.
24              A.         So they have not been forthcoming,
25     even though they have the ability to be
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 51 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     forthcoming about that.                      The one instance that
 2     Mr. McGraw points to is El Chapo and that is
 3     the only one in this entire case that I've
 4     seen.
 5              Q.         Okay.       But you don't know how many
 6     more there would be, legitimate instances like
 7     that, like the El Chapo example, where Pegasus
 8     was used legitimately and lawfully as a law
 9     enforcement or counterterrorism tool?
10                  ATTORNEY CORA:              So I'm going to --
11              Q.         Is that fair?
12                  ATTORNEY CORA:              I'm going to object to
13     the form for a lot of reasons, but including
14     it mischaracterizes his testimony and it lacks
15     foundation.            It calls for speculation, and
16     it's also asked and answered, and to the
17     extent it's embedding a legal conclusion as to
18     the legitimacy and lawfulness, Dr. Vance is
19     not a legal expert.
20              A.         I'll say again, that El Chapo is
21     the only instance, only example points to as
22     someone investigated using Pegasus.
23                         Although that's claimed, I don't
24     have the details of that, I'm also not aware
25     of the legality of that situation.                           I'm also
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 52 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     not a lawyer and can't opine whether that was
 2     appropriate legally or not.
 3              Q.         Well, you seem to minimize the
 4     abuse of WhatsApp by claiming that it was
 5     legitimately used in so many more situations;
 6     right?
 7                   ATTORNEY CORA:             Objection to the form.
 8     Mischaracterizes his testimony.
 9              A.         Would you be more specific with
10     your question?
11              Q.         Yeah, I was asking you about the
12     abuse of WhatsApp and you're like, Well,
13     2 billion people are using it and most of them
14     are using it legitimately; right?
15                  ATTORNEY CORA:              Objection to the form.
16     I also object to the tone.                        To the extent
17     you're speaking to Dr. Vance with derision,
18     it's unwarranted.
19                  THE WITNESS:             I'm fine with the tone.
20     This is New York.
21              A.         So as I said earlier, WhatsApp has
22     a huge user base, 2 billion users, over
23     2 billion users.                The difference here, as I
24     said before, is that Pegasus is a cyber
25     weapon.         WhatsApp is not.                They're clearly
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 53 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     qualitatively categorically different and it's
 2     not useful at all to compare the two.                             Yes,
 3     someone may misuse a communication technology,
 4     but that's not the same thing as giving one
 5     the equivalent of a loaded gun in
 6     cybersecurity terms and selling those things.
 7              Q.         And how is it that -- I mean,
 8     that's quite an inflammatory remark.                             How is
 9     it that it's a loaded gun?
10                   ATTORNEY CORA:             Objection to the form.
11     Mischaracterizes his testimony.
12              Q.         I'm going to need to put this in my
13     motion in limine.                 So go ahead and explain it
14     for us if you want to talk about guns --
15                   ATTORNEY CORA:             Objection.
16              Q.         -- in Oakland, Dr. Vance.
17                   ATTORNEY CORA:             Objection to the form.
18     This is at his deposition.                        He's answering
19     your questions.
20              A.         Motion in limine?                  I don't
21     understand.
22                  ATTORNEY CORA:              He's not a legal
23     expert.
24              Q.         Just tell me why you think it's a
25     gun.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 54 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     entity list because of concerns about human
 2     rights and other things.                       So we need to ask
 3     about my assessment, part of it is to review
 4     the evidence.              Part of it is to look at what
 5     the U.S. Government itself has said, not only
 6     U.S. commerce department, but the executive,
 7     the White House has said about this, and I
 8     detailed this in my report.
 9              Q.         I've asked you to explain your
10     methodology.
11                         Do you understand that, that term?
12                   ATTORNEY CORA:             Objection to the form.
13              A.         I understand.
14              Q.         Okay.
15              A.         And I believe I've answered that.
16     I have reviewed the evidence.                          I've reviewed
17     the facts of this case as I see them in the
18     documents provided to me.                       I've reviewed
19     public analyses of how NSO has been used, and
20     I reviewed the statements of the White House
21     and U.S. Department of Commerce relative to
22     the threats of Pegasus, and this is detailed
23     on Pages 11 through 14 of my report.
24              Q.         Anything else part of your supposed
25     methodology that you applied --
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 55 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   ATTORNEY CORA:             Objection to the form.
 2              Q.         -- to determine that the --
 3              A.         I think that --
 4              Q.         Hold on.          Sorry.           Anything else
 5     about your methodology that you applied to
 6     determine that the risks of the abuse of
 7     Pegasus outweigh its potential benefits?
 8                   ATTORNEY CORA:             Object to form.
 9              A.         I think that is a comprehensive set
10     of steps.
11              Q.         Okay.       And just to make it clear,
12     it's you review the evidence.                           You reviewed
13     facts, I'm not sure how that's different from
14     reviewing the evidence, but you reviewed
15     evidence.           You reviewed facts.                   You reviewed
16     public analysis, and you reviewed White House
17     and Department of Commerce statements?
18              A.         About Pegasus, about NSO.
19              Q.         Anything else?
20              A.         That is the scope of my report.
21              Q.         Are you aware that in the United
22     States, there is not an absolute right to
23     privacy, but rather a right against searches
24     and seizures that are unreasonable?
25                  ATTORNEY CORA:              Objection to the form.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 56 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     Clearly calls for a legal conclusion.
 2              A.         I'm not a lawyer, and I don't want
 3     to opine about that issue, but I point out
 4     that there are 2 billion users of WhatsApp
 5     around the world with many governments and
 6     some jurisdictions where they do have a right
 7     to privacy.
 8              Q.         I'm just -- do you remember my
 9     question?
10              A.         I do.
11              Q.         Okay.       Is that the kind of thing
12     you talk about with your students ever?
13                  ATTORNEY CORA:              Objection to the form.
14              A.         Yes.
15              Q.         Okay.       Then you're an expert;
16     right?
17                  ATTORNEY CORA:              Objection to the form.
18              Q.         Are you aware that in the United
19     States, even that there is no absolute right
20     to privacy and only against searches and
21     seizures that are unreasonable; correct?
22                  ATTORNEY CORA:              Objection to the form.
23     Calls for a legal conclusion.                          Outside the
24     scope of his expert testimony.
25              A.         I'm not offering an opinion about
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 57 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     that, but I'll say, again, that this matter
 2     involves countries and citizens around the
 3     world, not only those in the United States,
 4     and that all of these users have legitimate
 5     privacy concerns.
 6              Q.         Do you remember my question,
 7     Dr. Vance?
 8              A.         I do.
 9              Q.         Will you answer it, please?
10              A.         I just did.
11                   ATTORNEY CORA:             Objection.
12              Q.         I didn't ask you about anything
13     about the world.                I asked you about the
14     absoluteness of the right to privacy in the
15     United States.
16                  ATTORNEY CORA:              And I keep objecting
17     because you're asking an expert witness, who
18     is not a lawyer, a legal conclusion.
19              Q.         You said that you discussed this
20     with your students; right?                        You justified your
21     expertise in many areas by saying, Well, I
22     didn't publish on it, but I do talk about it
23     with my students; right?
24                  ATTORNEY CORA:              Objection to the form.
25     You can't badger the witness.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 58 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              Q.         Right?
 2              A.         That's not how I would characterize
 3     it.
 4              Q.         Well, are you able to answer my
 5     question or aren't you?
 6                   ATTORNEY CORA:             Objection to the form.
 7     It's been a long enough time.                          Can you please
8      ask your question again?
9               Q.         Do you remember my question?
10              A.         I believe I've answered your
11     question twice.
12              Q.         I don't think you answered it
13     either time.             Are you able to answer it or
14     not?
15                   ATTORNEY CORA:             Objection to the form.
16     He is not -- he is not a legal expert.                             Your
17     question calls for a legal conclusion.
18              A.         You can ask it again if you'd like.
19              Q.         You understand that even in the
20     United States, there is not an absolute right
21     to privacy, rather a right against searches
22     that are unreasonable; correct?
23                   ATTORNEY CORA:             Objection to the form.
24     Again, calls for a legal conclusion.                             It's
25     outside the scope of his expert opinion.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 59 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1              A.         I'm not a lawyer.                  I'm not an
 2     expert in the right to privacy in the United
 3     States, and I'll say again that this matter
 4     involves the privacy concerns of citizens in
 5     governments around the world.
 6              Q.         Where you also are unfamiliar with
 7     the rights that the people have; correct?
 8                   ATTORNEY CORA:             Objection to the form.
 9              A.         To be consistent, I'm also
10     unfamiliar with the legal implications of the
11     privacy rights of the citizens around the
12     world.
13              Q.         Right.
14              A.         I know that they have privacy
15     rights.
16              Q.         But you don't know what they are?
17              A.         I do.       It's documented in my
18     report.
19              Q.         Okay.       Do you know where it is that
20     those privacy rights yield to legitimate law
21     enforcement interests or is that not something
22     you're familiar with?
23                  ATTORNEY CORA:              Objection to the form.
24     He's not a legal expert.
25              A.         I will turn to the relevant portion
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 60 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     of my report.
 2              Q.         Page 2 and 3 of your rebuttal
 3     report.         My question is like:                   Are you able to
 4     talk about privacy rights or aren't you?
 5              A.         I am.
 6                   ATTORNEY CORA:             Objection to the form.
 7              Q.         Okay.
 8              A.         And to the extent that I'm
 9     comfortable opining about this, I do so in my
10     report on Pages 2 and 3, which are -- which is
11     that millions of WhatsApp users live in
12     jurisdictions where they have a legal right to
13     privacy, for example, the charter of
14     fundamental rights of the European Union
15     states that everyone has -- this is the quote,
16     has the right to respect for his or her
17     private and family life, home and
18     communications, and that everyone has the
19     right to the protection of personal data
20     concerning him or her, and I go on, but I
21     don't want to use your time, but I'm not a
22     lawyer and I just want to state that these are
23     the rights that have been espoused, but I'm
24     not going to opine about the limitation of
25     those rights and how they're enforced.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 61 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     doesn't appear that I cite this document in my
 2     report, but I may have reviewed this.
 3              Q.         Does it look familiar to you now
 4     having had the opportunity to review it?
 5              A.         It looks similar to many documents
 6     I've reviewed on this topic and published by
 7     WhatsApp.
 8              Q.         You recognize that this is a
 9     WhatsApp publication?
10              A.         I do.
11              Q.         So to start with, WhatsApp cannot
12     and does not produce the content of its users'
13     messages in response to government requests;
14     correct?
15                   ATTORNEY CORA:             Objection to the form.
16              A.         I haven't read this document.                     I
17     don't recall the precise details of this
18     document, but I can say that WhatsApp overall
19     as an end-to-end encryption platform cannot
20     produce specific messages to law enforcement.
21     It does not have the technological ability to
22     do so.
23              Q.         Do you know what lawful intercept
24     technologies other than Pegasus are available
25     to accomplish the things that you were just
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 62 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     listing in your report, like obtaining the
 2     content of text messages and emails and things
 3     like that?
 4                   ATTORNEY CORA:             Objection to the form.
 5     To the extent you're asking for a legal
 6     conclusion regarding the lawfulness, I object
 7     because Dr. Vance is not a legal expert and I
 8     think it lacks foundation.
 9              A.         So before I give a long answer
10     about this, do you want to give me a more
11     specific question?
12              Q.         Yeah.
13                         In your report, your rebuttal
14     report on Pages 3 and 4, Exhibit 1610, you
15     talk about the sources of data, including cell
16     phone carrier record, cell phone tower
17     records, SMS messages, ISP logs, email, social
18     media account records, GPS location data, and
19     other sources that are available to law
20     enforcement and National Security
21     investigators; right?
22              A.         Where is the question there?                     So I
23     see the list of these things, yes, I see those
24     mentioned.
25              Q.         Okay.       And are you familiar with
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 63 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     what the lawful intercept technologies are
 2     that allow law enforcement to get those
 3     different things?
 4              A.         I don't work in law enforcement, so
 5     I don't know the specific intercept
 6     technologies, but many of them do not even
 7     require intercept technologies.                          They require
 8     a subpoena.
 9              Q.         Or a search warrant?
10              A.         Yes.
11              Q.         Or a wiretap order?
12                   ATTORNEY CORA:             Object to the -- object
13     to the extent you're asking the witness
14     questions about legal conclusions.
15              A.         Yes.
16              Q.         Do you know if any of those or
17     other law enforcement and National Security
18     technology allow investigators to review the
19     content of end-to-end encrypted messaging?
20                  ATTORNEY CORA:              Objection to the form.
21     Lacks foundation.
22              A.         Those tools, those means of law
23     enforcement are unavailing for end-to-end
24     encryption because the service providers are
25     technically unable to provide the contents of
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 64 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     those messages.
 2              Q.         Are you aware of any law
 3     enforcement technology other than Pegasus that
 4     allows law enforcement or National Security
 5     investigators to obtain the content of
 6     end-to-end encrypted communications?
 7                   ATTORNEY CORA:             Objection to the form.
 8              A.         I do not accept that Pegasus is a
 9     lawful intercept tool of law enforcement.                               So
10     I reject that premise, but there are many
11     different tools like Pegasus that are used and
12     they're mentioned in my rebuttal report, those
13     that have been similarly sanctioned by the
14     commerce department and also most recently in
15     September of 2023 calling out Intellexa, which
16     is a close competitor of Pegasus, so there are
17     a variety of tools that have been -- that are
18     available.
19              Q.         Let me ask my same question a
20     little bit differently.
21                         Is there any technology that you
22     would agree is a lawful tool for law
23     enforcement and which would allow law
24     enforcement or National Security investigators
25     to obtain the content of end-to-end encrypted
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25    Page 65 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1     technologies because it allows for the
 2     complete compromise of devices, and that is
 3     what has led to the abuses that I list on
 4     Pages 8, 9, and 10, because with that full
 5     access, there are a range of harms that may
 6     occur, and those harms are not available with
 7     traditional surveillance technology, not to
 8     the same extent.
 9              Q.         Okay.       I'm really asking a
10     different question.
11                         Are you familiar or unfamiliar with
12     the legal requirements that exist either here
13     in the United States or in other countries,
14     statutory rules about communications being
15     intercepted and what court review is required
16     for those interceptions?
17                  ATTORNEY CORA:              Okay.         Objecting to the
18     form.        It's a compound, vague, ambiguous
19     question, and he's asked and answered this.
20              A.         I'm not an expert in those rules,
21     and I'll point out again that NSO's experts
22     have not provided that information.                              They've
23     not opined on this either.
24                  ATTORNEY CORA:              Do you need a break?
25                  THE WITNESS:             I'm fine.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 66 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   ATTORNEY CORA:             Okay.
 2                   THE WITNESS:            Let's just roll.
 3     BY ATTORNEY AKROTIRIANAKIS:
 4              Q.         Have you obtained any data about
 5     the use of Pegasus and the outcomes of that
 6     use from any law enforcement or national
 7     intelligence agency?
 8                   ATTORNEY CORA:             Objection to the form.
 9     That lacks foundation.
10              A.         No, I have not.
11              Q.         Have you obtained any data about
12     the use of Pegasus or the outcomes of that use
13     from any government agency of any kind?
14                   ATTORNEY CORA:             Objection to the form.
15     Lacks foundation.
16              A.         That's outside the scope of my
17     report.         So, no, I have not.
18              Q.         Do you intend to reference any
19     potential misuse of Pegasus other than the
20     instances referenced in your report when you
21     testify at trial?
22                  ATTORNEY CORA:              Objection to the form.
23              A.         I guess I'm not sure what I'm
24     legally able to do.                   These are examples I give
25     in my reports and I've said there are many
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 67 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     more that I could cite, but I said this will
 2     suffice.          I think these examples do suffice to
 3     make my point and I don't think I need to
 4     belabor them, but do I know of more instances?
 5     Yes.       I can't think of one at the moment that
 6     I could refer to, but I do provide many
 7     instances in this citation -- in my citations,
 8     including the Pegasus report, which is
 9     extensive.
10              Q.         Are you aware of instances where
11     Pegasus was used to surveil criminals other
12     than El Chapo?
13                  ATTORNEY CORA:              Objection to the form.
14              A.         I don't recall.
15              Q.         Are you aware of instances where
16     Pegasus was used to surveil a terrorist?
17                  ATTORNEY MARZORATI:                  Objection to the
18     form.
19              A.         I believe NSO has not been
20     forthcoming with that information.
21              Q.         So are you aware of any such
22     instances?
23              A.         I'm not aware of such instances
24     because NSO has not been forthcoming with that
25     data.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 68 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     the world, whereas we do not have evidence
 2     like that from NSO.
 3              Q.         What's the cutoff in your analysis?
 4                   ATTORNEY CORA:             Objection to the form.
 5              Q.         Like, for example, if you had a
 6     99 percent lawful and legitimate use of
 7     Pegasus, would you agree that the benefits of
 8     Pegasus outweigh the risk of harm?
 9                   ATTORNEY CORA:             So objection to the
10     form.        Outside the scope of his expert
11     testimony.            It also lacks foundation, and to
12     the extent you're embedding legal conclusions
13     in the question, I object.                        He's not a lawyer.
14              A.         So this is the issue here and that
15     is all governments are not the same.                             I give
16     examples in this case of Russia using NSO
17     technology.            I don't have evidence that Russia
18     was a customer of NSO.                     That has not been
19     disclosed, but I detail in my reports that
20     they're using, and this is detailed by Google,
21     Project Zero by Google saying that the
22     instances of abuse by Pegasus and NSO is
23     either the same technology or near -- either
24     identical or nearly identical, and so when we
25     talk about governments, we have to recognize
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 69 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     that there are a range of governments around
 2     the world with different intentions, different
 3     records for human rights abuse, and we just
 4     can't say that government has legitimate
 5     interests and, therefore, governments should
 6     be able to do anything it wants with software
 7     exploitation tools.
 8                         The point in this case that I see
 9     is most relevant, which we have not yet
10     addressed, is that Meta as a company is in a
11     really difficult position, because they are
12     attacked literally by governments around the
13     world, and they have no way to differentiate
14     between a nation state actor, between
15     governments using Pegasus, or Intellexa or
16     whatever else.               All they can do is do their
17     best to protect Meta customers, WhatsApp
18     customers, and that's my point.
19              Q.         Yeah.
20                         I was asking you a hypothetical
21     question that if Pegasus was legitimately and
22     lawfully used in 99 percent of cases, would
23     you agree that the benefits outweigh the
24     potential harms?
25                   ATTORNEY CORA:             And I'm going to object
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 70 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

1      because it calls for speculation.                           It lacks
 2     foundation.            He's not a legal expert.                   It's
 3     outside the scope of his expert opinion.
 4              A.         So this is outside of scope of my
 5     opinion, but to answer your question, it would
 6     depend on the context.                     It would depend on the
 7     cases involved.               It's not a simple binary.
 8     It's not a simple weighing of 99 to one, and I
 9     don't believe it's the case from the evidence
10     we have.
11              Q.         What about 99.9 percent of cases,
12     would you agree that if in .1 percent of cases
13     Pegasus was abused rather than lawfully and
14     legitimately used, would you agree that the
15     benefits outweigh the potential harms?
16                   ATTORNEY CORA:             Objection to the form.
17     Calls for speculation.                     Incomplete
18     hypothetical.              Lacking foundation.               He's not a
19     legal expert, and it's outside the scope of
20     his expert opinion.
21              A.         I think it depends on the context.
22     What I have from the record is rather the
23     reverse to what you're describing.                           What I see
24     is the 99.9 of abuses relative to the one,
25     literally the one that your experts have
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 71 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     provided, which is El Chapo.
 2              Q.         Right.        So you've got on the one
 3     hand El Chapo, and then I think your testimony
 4     was dozens or scores of alleged abuses on the
 5     other hand; right?
 6              A.         And the record --
 7                   THE WITNESS:            Sorry.
 8                   ATTORNEY CORA:             I'm going to object on
 9     the form.
10                   Go ahead.
11              A.         In the record approached by NSO
12     experts, that is the balance that I see here.
13     That is the balance that I have provided in
14     this report.
15              Q.         Okay.
16              A.         I will respond to the evidence
17     that's available.
18              Q.         But I am able to ask you
19     hypothetical questions.                      You understand that;
20     right?
21              A.         Yeah.       Okay.
22              Q.         Okay.
23                         So I'm asking you a hypothetical.
24     You have let's say your dozens of scores on
25     one side of the scale and 99 percent of the
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 72 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     question.
 2                         Do you recall whether the executive
 3     order makes reference to NSO?
 4                   ATTORNEY CORA:             Objection to the form.
 5     Asked and answered.
 6              A.         No, the executive order does not by
 7     name reference NSO.
 8              Q.         It doesn't by name reference any
 9     company; correct?
10              A.         I don't recall.               I don't believe
11     so.
12              Q.         Did you read the executive order?
13              A.         I did.
14              Q.         Okay.       Because you don't cite it in
15     your --
16              A.         I do.
17              Q.         You cite the executive order or you
18     cite press releases and similar -- where do
19     you cite the executive order?
20                   ATTORNEY CORA:             Objection to the form.
21              A.         Well, I guess I don't.                  I cite the
22     fact sheet that goes with the executive order,
23     but the fact sheet links directly to the
24     executive order.
25              Q.         Okay.       And you say you've read it;
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25      Page 73 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                 Job 3460
     ANTHONY VANCE on 11-14-2024

1      right?
2               A.         Yes, I did.
3               Q.         All right.
4                    ATTORNEY AKROTIRIANAKIS:                         This is
 5     Exhibit 1617.
 6                                                    -       -   -
 7                         (Whereupon, document entitled March
 8     27, 2023, Executive Order on Prohibition on
 9     Use by the United States Government of
10     Commercial Spyware that Poses Risks to
11     National Security, is received and marked as
12     Exhibit 1617 for Identification.)
13                                                    -       -   -
14                   CERTIFIED STENOGRAPHER:                      Exhibit
15     Number 1617.
16                   THE WITNESS:            Thanks.
17     BY ATTORNEY AKROTIRIANAKIS:
18              Q.         Do you recognize Exhibit 1617 as
19     the executive order?
20              A.         Yes, I do.
21              Q.         It actually doesn't preclude the
22     use of commercial spyware; correct?
23                   ATTORNEY CORA:             Objection to the form.
24     Also I object to the extent you're asking for
25     a legal conclusion.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25    Page 74 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1              A.         From what I read, this executive
 2     order does not preclude the use of commercial
 3     spyware per se, but it does state that there
 4     are conditions where it should not be used and
 5     it lists number of risks, the risks of spyware
 6     use.
 7              Q.         You wrote in your report that the
 8     U.S. Government barred commercial spyware
 9     generally; right?
10              A.         Where do I say that?
11              Q.         Well, do you recall having said
12     that?
13              A.         I believe so, but where is that
14     said?
15              Q.         That's on Page 11 of Exhibit 1610.
16     The heading at the top of the page:                              The
17     U.S. Government --
18              A.         Thank you.
19              Q.         -- has, and then at the end of the
20     sentence, barred commercial spyware generally.
21                         Do you see that?
22              A.         I do see that.
23              Q.         That's a reference to the executive
24     order?
25              A.         That's a reference to the executive
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25    Page 75 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1     order and to the Department of Commerce's
 2     entity list.
 3              Q.         Okay.       Well, the Department of
 4     Commerce doesn't have the ability to bar the
 5     use of commercial spyware or anything.                              It
 6     regulates imports and exports; right?
 7                   ATTORNEY CORA:             Objection to the form.
 8     Also calls for a legal conclusion.
 9              A.         Which is why I referred to this
10     executive order and to the Department of
11     Commerce.
12              Q.         Right.        But what the executive
13     order says is not that, as you put it,
14     commercial spyware generally is barred; does
15     it?
16                  ATTORNEY CORA:              Objection to the form.
17              A.         I'll refer to how the White House
18     characterizes this executive order.                              They
19     characterized this as this order prohibits
20     departments and agencies across the federal
21     government from operationally using commercial
22     spyware tools that pose significant
23     counterintelligence or security risks to the
24     U.S. Government or significantly risks of --
25     maybe that's messed up there too -- of
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 76 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     improper use by a foreign government or a
 2     foreign person, including to target Americans
 3     or enable human rights abuses.
 4                         Now, this example -- this -- this
 5     clarification of this executive order
 6     coincides with incidents such as the
 7     U.S. Embassy in Uganda where government agents
 8     were targeted by Pegasus.
 9                         It also follows an incident where
10     over 50 U.S. Government agents, some high
11     ranking, were targeted by Pegasus and like
12     tools.
13              Q.         Well, this executive order actually
14     contemplates that the United States Government
15     would use commercial spyware.                          It just
16     regulates how it should use it.                          Is that fair?
17                   ATTORNEY CORA:             Objection to the form,
18     and seeks a legal conclusion.
19              A.         My understanding based on this
20     statement is that U.S. Government is posing
21     those commercial spyware tools that pose
22     significant risks to counterintelligence and
23     security risks and abuses.
24              Q.         So you're just -- I mean, your
25     counsel just objected that I'm seeking a legal
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 77 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     conclusion.            You're just reading this
 2     document; right?
 3                   ATTORNEY CORA:             Objection.
 4              Q.         In fact, you're just reading a
 5     statement out of the document, right, just
 6     like anybody who can read would do?
 7                   ATTORNEY CORA:             Objection to the form.
 8     You're mischaracterizing what he's reading
 9     even.
10              A.         What is your point?
11              Q.         Well, my point is that:                  Are you or
12     are you not able to say what the meaning of
13     the executive order is?
14                  ATTORNEY CORA:              Objection to the form.
15     You're asking him a legal conclusion, and I am
16     objecting to the extent you're seeking a legal
17     conclusion.
18              A.         I am merely citing the White
19     House's interpretation of this executive
20     order.        I don't cite the executive order in my
21     report.         I cite the conclusion, this
22     interpretation of the White House, and I think
23     that's sufficient.
24              Q.         All right.
25                         Did you read the part of the
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 78 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     executive order that -- it says:                          To advance
 2     these interests and promote responsible use of
 3     commercial spyware, the United States must
 4     establish robust protections and procedures to
 5     ensure that any United States Government use
 6     of commercial spyware helps protect its
 7     information systems and intelligence in law
 8     enforcement activities against significant
 9     counterintelligence or security risks?
10                   ATTORNEY CORA:             Objection to the form
11     as an incomplete.
12              A.         The keyword there -- term there is
13     responsible use, and my report makes clear
14     that Pegasus is not a responsible tool and,
15     therefore, on that first clause, responsible
16     use in my view, that negates the use of
17     Pegasus.
18              Q.         And you know this because you
19     discussed it with President Biden or, I mean,
20     what?        You're literally just reading this,
21     putting some shine on it; right?
22                   ATTORNEY CORA:             Objection to the form.
23     You're badgering the witness, and it's a
24     compound question.
25              A.         I'll point out that --
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 79 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

1                   CERTIFIED STENOGRAPHER:                   I could use a
2      break whenever, yes.
3                   ATTORNEY AKROTIRIANAKIS:                    All right.
 4     Give us just a minute.
 5     BY ATTORNEY AKROTIRIANAKIS:
 6              Q.         I'm trying to ask you, Dr. Vance,
 7     whether you understand that the executive
 8     order contemplates that there is some use of
 9     commercial spyware?
10                   ATTORNEY CORA:             Objection to the form.
11              A.         In my view, it does contemplate the
12     potential for using spyware responsibly,
13     however, the tenor of this executive order,
14     the reason why it was granted -- the United
15     States Government did not have to issue this
16     executive order.                It had no -- no requirement
17     to do so.           It may have chosen not to issue
18     such an order and law enforcement could
19     continue using spyware all it wishes.
20                         The fact is that this executive
21     order comes on the heels of several -- of
22     years, literally years of abuses against
23     noncriminal groups by the use of Pegasus,
24     including diplomats and U.S. agents in the
25     Ugandan -- in the U.S. Embassy in Uganda, and
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 80 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     in other instances where over 50
 2     U.S. Government agents have been targeted by
 3     Pegasus.
 4              Q.         What U.S. diplomat are you
 5     referring to?
 6              A.         And that -- I'll finish my
 7     question -- my answer.
 8                         And that is -- that is what
 9     precipitated this executive record at least
10     chronologically.                The United States Government
11     did not have to issue this.                            The fact that
12     they are doing this is to put guardrails to
13     the use of spyware, which previously did not
14     exist, and that's also the basis also
15     chronologically with the addition of NSO to
16     the entity list, it follows the same
17     chronological series of events.
18              Q.         So what guardrails would you
19     envision that would result in the responsible
20     use of commercial spyware?
21                  ATTORNEY CORA:              Objection to the --
22     objection to the form.                     It lacks foundation.
23     Calls for speculation.
24              A.         That's outside the scope of my
25     report, and I don't intend to give opinions
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 81 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     about guardrails for spyware.
 2              Q.         Well, it's in the executive order;
 3     isn't it?
 4                   ATTORNEY CORA:             Objection to the form.
 5     There is no question.
 6              A.         I don't cite the executive order in
 7     my report.
8               Q.         Does the executive order not say
 9     that agencies in using commercial spyware
10     should consider among a series of
11     considerations different things that I suppose
12     you would call guardrails?
13                   ATTORNEY CORA:             Objection to the form.
14     This is asked and answered.
15              A.         Would you point out what you're
16     referring to specifically?
17              Q.         Yeah, on Page 4, in determining
18     whether the operational use of commercial
19     spyware poses significant counterintelligence
20     or security risks to the United States
21     Government and it goes on and on and gives a
22     list of factors to be considered.
23                         Do you see that Romanette iii?
24                   ATTORNEY CORA:             I do not see where you
25     are.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25    Page 82 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   THE WITNESS:            It's on Page 4, Paragraph
 2     Roman Numeral III, and it's right in the
 3     middle of it.
 4                   ATTORNEY CORA:             So I'm going to object
 5     that this is a selective quotation.                              I think
 6     that --
 7     BY ATTORNEY AKROTIRIANAKIS:
 8              Q.         Here is my point, Dr. Vance:                      The
 9     executive order does not bar commercial
10     spyware generally.                  Can we agree on that?
11     Rather it sets out factors for the use of
12     commercial spyware?
13                   ATTORNEY CORA:             Objection to the form.
14     This is asked and answered.
15              A.         I've already answered that
16     question.           It does not bar spyware as a
17     category, but rather points to the risks and
18     harms of the use of such spyware.                           In this
19     paragraph that you refer to, it shows -- it
20     says that:            Agencies shall consider among
21     other relevant considerations whether the
22     entity furnishing the commercial spyware knew
23     or reasonably should have known that the
24     spyware posed risks described in Subsections
25     A, I, or 2 of the section, and whether the
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 83 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     entity has taken appropriate measures to
 2     remove such risks, such as canceling relevant
 3     licensing agreements or contracts that prevent
 4     such risks.
 5                         What I document in my report is the
 6     persistent and continued misuse of Pegasus
 7     against vulnerable groups contrary to public
 8     statements of NSO that it has such guardrails,
 9     such guidelines.
10                         What you cannot do is show me that
11     NSO has complied with what is contemplated in
12     the paragraph you've just shown me.
13              Q.         Well, let me ask you this:                    In your
14     report, you don't analyze these factors that
15     are set forth in the executive order; correct?
16                   ATTORNEY CORA:             Objection to the form.
17              A.         That was not my purpose in writing
18     the report.
19              Q.         All right.           So, yes, you do not
20     analyze these factors?
21              A.         I do not analyze those factors in
22     my report.
23                  ATTORNEY CORA:              Objection to the form.
24              Q.         You didn't request a review, any
25     information about NSO's attempts to avoid,
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 84 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     mitigate, or remove the risks that are
 2     identified in the order?
 3                   ATTORNEY CORA:             Objection to the form.
 4              A.         I'll say, no, I've not reviewed
 5     those things and neither have the experts that
6      NSO has engaged for this.                       They do not discuss
7      these guardrails or provide evidence of them.
8               Q.         Are you aware of whether NSO has
 9     canceled licensing agreements?
10                   ATTORNEY CORA:             Objection to the form.
11     Lacks foundation.                 Calls for speculation.
12              A.         I'll say again that NSO has not
13     provided detailed list of its customer base.
14     It has said that it has canceled licensing
15     agreements, yet we see abuses continuing from
16     various regions around the world.
17              Q.         Are you aware that NSO's marketing
18     and licensing activities are approved by the
19     Israeli Ministry of Defense?
20                   ATTORNEY CORA:             Objection to the form.
21              A.         I actually wasn't finished with my
22     answer.
23              Q.         Oh, sorry.
24              A.         For example, Mexico has exhibited
25     human rights abuses involving the Pegasus tool
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 85 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     element as you're describing it in the last
 2     paragraph on Page 9 of your report would be in
 3     your opinion --
 4              A.         Hacking.
 5              Q.         -- hacking, which is the
 6     information security unauthorized access as
 7     opposed to the CFAA unauthorized access?
 8                   ATTORNEY CORA:             Objection to the form.
 9              A.         That is right.              This is a classic
10     example of hacking.
11              Q.         Okay.       And you recognize that not
12     all hacking, as you use the term, is
13     actionable under the Computer Fraud and Abuse
14     Act; correct?
15                  ATTORNEY CORA:              Objection to the form.
16     Calls for a legal conclusion.                          Outside the
17     scope of his expert testimony.
18              A.         That may be.             I'm not an expert in
19     the CFAA, but I am an expert in cybersecurity
20     and an expert in hacking.                       This is hacking.
21              Q.         Okay.       In fact, another judge has
22     excluded certain opinions of yours about
23     whether hacking equates to unauthorized access
24     under the CFAA; right?
25                  ATTORNEY CORA:              Objection to the form.
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 86 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     Mischaracterizes the record.
 2              A.         Which matter are you referring to?
 3              Q.         Just one of the ones where there
 4     was a Daubert order.
 5                   ATTORNEY CORA:             Objection.
 6              Q.         I'm not sure which one it was as
 7     I'm sitting here.
 8              A.         Well --
 9                   ATTORNEY CORA:             Objection to the form.
10              A.         There are different concerns in
11     both cases.            So there is some nuance there.                      I
12     can't respond to that unless you want to be
13     specific.
14              Q.         Here is what I'm getting at:                     When
15     you're talking about hacking and your
16     criticism of the group update elements setting
17     and so on, you're not expressing an opinion
18     about whether that hacking, to use your term,
19     constitutes unauthorized access within the
20     meaning of the Computer Fraud and Abuse Act;
21     correct?
22              A.         I am not.          So I am pointing out
23     that this is hacking.                    This is classic
24     hacking.          This is a severe instance of the
25     abuse of WhatsApp's system to send malware to
 Case 4:19-cv-07123-PJH   Document 509-6   Filed 01/09/25   Page 87 of 103


 1   victims' target devices, but what I am not
 2   doing is making an opinion about whether this
 3   hacking falls under the CFAA.               I'll leave that
 4   to others to make that conclusion.
 5          Q.       And then the subsequent revisions
 6   to the Pegasus code don't have anything to do
 7   with                                     ; correct?
 8               ATTORNEY CORA:      Objection to the form.
 9          A.      Are you saying that the
10   developments to Pegasus after December 2018,
11   that it -- that those updates to Pegasus no
12   longer use                                        ?
13          Q.      Yes.
14          A.      That is correct.
15          Q.      Okay.     And going back to the
16   September 2018 code change, that related to
17                                     ; right?
18          A.      Yes.
19          Q.      Okay.     And the subsequent code
20   changes in the Pegasus code did not relate to
21                                     ; correct?
22          A.      Right.      After these -- these
23   changes were made, I document my report from
24   communication, internal communication from NSO
25   that those patches were effective in blocking
 Case 4:19-cv-07123-PJH   Document 509-6   Filed 01/09/25   Page 88 of 103


 1   the Pegasus delivery mechanism at that point
 2   in time, but at some point prior to May, NSO
 3   found another way to deliver their malware to
 4   victims' target devices.
 5          Q.       All I'm trying to get at here is
 6   that you're saying that -- well, let me ask it
 7   this way:       Changes were made that related to
 8                                     , correct, in
 9   September 2018?
10          A.       Correct.
11          Q.       Okay.    And then after that, NSO did
12   not use                                        ?
13               ATTORNEY CORA:      Objection.
14          Q.      Correct?
15               ATTORNEY CORA:      Objection to the form.
16   Lacks foundation.
17          A.      I believe that's what I just said,
18   yes.
19          Q.      And then in December 2018, changes
20   were made to the WhatsApp code that related to
21                                    ; correct?
22          A.      Right.
23          Q.      And thereafter, Pegasus code did
24   not make use of                                          ;
25   correct?
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 89 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   ATTORNEY CORA:             Objection to the form.
 2     Lacks foundation.
 3              A.         As far as I know.
 4              Q.         All right.           So are you familiar
 5     with the WhatsApp server architecture in terms
 6     of like where within the server like regular
 7     WhatsApp messages would travel?
 8                  ATTORNEY CORA:              Objection to the form.
 9     Outside the scope of his expert testimony.
10              A.         I am generally familiar with the
11     WhatsApp protocol and the various servers that
12     are involved, but my report has different
13     scope.        The scope of Mr. Youssef addresses the
14     protocol in the servers involved directly.
15              Q.         So you express no opinion about
16     whether Pegasus traveled to parts of a server
17     that would have been an area to which a
18     regular WhatsApp message would not travel?
19                  ATTORNEY CORA:              Objection to the form.
20              A.         I've not seen any evidence to show
21     me that this particular attack, nor the
22     May 2019 attack, nor the June 2019 attack,
23     compromised different components of the
24     server, however, I've been often provided NSO
25     code, Pegasus code, so I'm not sure exactly
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 90 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     what all it performed, but the fact that
 2     Pegasus was routing malware through the
 3     servers is in my view a compromise.
 4                         So in my understanding, that is a
 5     compromise of the server, even if different
 6     sections of the server were not accessed.
 7              Q.         Well, you understand that the
 8     investigators within WhatsApp concluded that
 9     the WhatsApp servers had not been compromised
10     by the May 2018 use of Pegasus?
11                   ATTORNEY CORA:             Objection to the form.
12              A.         So I'm aware of that statement.
13     That statement was given at a point in time.
14     It doesn't reflect all of Meta's investigation
15     around the server, but I'll say again that
16     even if -- just assume that no component of
17     the server was accessed, beyond the fact that
18     malware was routed through the server, that
19     alone is a compromise because it was a
20     compromise of the entire WhatsApp system and
21     it required, therefore, the updating of the
22     server to block those malicious
23     communications.               So it's not enough to say
24     this component of the system wasn't
25     compromised.             The entire system was
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 91 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     compromised and those servers were a part, a
 2     large part of how that attack was performed.
 3              Q.         Okay.       And here again we're talking
 4     about your conception of hacking as opposed to
 5     unauthorized access as defined under the
 6     Computer Fraud and Abuse Act; correct?
 7                  ATTORNEY CORA:              Objection to the form.
 8              A.         Correct.          I'm talking about how
 9     hacking was used in this instance to send
10     malware through the servers to the victim
11     target devices.               This was a highly
12     sophisticated hacking attack at the level of a
13     nation state actor.                   That is a country, a
14     government with a military specializing this.
15     This is the capability of NSO, and it's laid
16     there in this case.
17              Q.         All right.
18                         You're not expressing an opinion
19     about whether anything in September 2018 or
20     December 2018 or May 2019 violated the
21     Computer Fraud and Abuse Act?
22                  ATTORNEY CORA:              Objection to the
23     form --
24              Q.         Through unauthorized access;
25     correct?
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 92 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   ATTORNEY CORA:             Objection to the form.
 2              A.         No, but I'll add to that list the
 3     June 2019 attacks.
4               Q.         Also you would say you express no
 5     opinion about violation of the Computer Fraud
6      and Abuse Act by unauthorized access?
7               A.         No, my opinion --
 8                   ATTORNEY CORA:             Objection.         Go ahead.
 9              A.         No, my opinion is that those
10     instances were instances of hacking.
11              Q.         As distinct from unauthorized
12     access as that term is used in the Computer
13     Fraud and Abuse Act?
14                   ATTORNEY CORA:             Objection to the form.
15              A.         I'm not making any claims relative
16     to the CFAA.             So the terms -- the legal term
17     of unauthorized access and hacking, there is
18     overlap.          So I'm saying that this hacking was
19     not unauthorized access.                       It may be that legal
20     analysis may make that conclusion, but I am
21     not making that analysis.                       I'm not making that
22     claim, but I am saying it is hacking and it is
23     potentially within the CFAA, although I don't
24     make that claim.
25              Q.         So Mr. --
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 93 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1                   ATTORNEY AKROTIRIANAKIS:                     Show me that.
 2     Do we have that testimony?                        I've got it here.
 3              Q.         So Mr. Gazneli testified that the
 4     AWS server was used for -- only for testing
 5     and demonstration purposes.                            You don't have a
 6     basis to differ with that; do you?
 7                   ATTORNEY CORA:             Objection to the form.
 8              A.         I believe Mr. Youssef's report
 9     shows that that server was involved in a
10     number of attacks during the time period.
11              Q.         Okay.       So any thought you would
12     have on that just comes from you reviewing
13     Mr. Youssef's report?
14                  ATTORNEY CORA:              Objection to the form.
15              A.         Well, let me see what I say about
16     the AW server.
17                         All right.           This is the statement I
18     want to make.              This is a point that's been --
19     needs to be made and that is testing and
20     research and development by NSO against
21     WhatsApp is hacking.                   The fact that they're
22     doing research and development of exploitation
23     tools is hacking.                 The fact that this tool
24     exists, Pegasus, is evidence that NSO has
25     themselves, not any of its customers, that NSO
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 94 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     that is.
 2              Q.         At least according to what you
 3     reference here on Page 20 of your report, this
 4     phone number that we're now talking about
 5     refers to demonstrations by a person named
 6     Martin; right?
 7                   ATTORNEY CORA:             Objection to the form.
 8              A.         That's what I write here.
 9              Q.         Okay.       And the other phone number,
10     the 202 number, you refer to text messaging
11     that indicates that this is being used for
12     demonstrations by Josh Shaner; correct?
13                  ATTORNEY CORA:              Objection to the form.
14              A.         So it appears that this phone
15     number, the 202 number, is being used in the
16     attack being performed by Josh Shaner, who is
17     an employee of Westbridge, which is an NSO
18     affiliate, but I don't know who owns that
19     device.
20              Q.         Okay.       And the other Peruvian phone
21     number is also being used in connection with
22     demonstrations as far as you know; correct?
23                  ATTORNEY CORA:              Objection to the form.
24              A.         It appears that's the case.
25                  ATTORNEY AKROTIRIANAKIS:                    Why don't we
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 95 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     take a final short break?
 2                   ATTORNEY CORA:             Okay.
 3                  THE VIDEOGRAPHER:                 The time is 5:17
 4     p.m.
 5                  We're going off the record.
 6                                                    -       -   -
7                          (Whereupon, a short recess was
8      taken.)
9                                                     -       -   -
10                  THE VIDEOGRAPHER:                 Stand by, please.
11                  The time is 5:30 p.m.
12                  We're back on the record.
13     BY ATTORNEY AKROTIRIANAKIS:
14              Q.         Have you ever encountered the
15     entity list prior to your work in this case?
16                  ATTORNEY CORA:              Objection to the form.
17              A.         Yes.
18              Q.         And what is the entity list?
19              A.         I describe the entity list in my
20     report.         It's the relevant place.
21              Q.         Are you able to describe it other
22     than by reference to your report?
23              A.         I'd rather reference my report
24     because I use precise wording.
25              Q.         Did you find it?
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 96 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

1               A.         Yes, I'm looking where I give a
2      description what the entity list is.                             I don't
3      have a definition here, but what the entity
4      list is is described by my statement here,
5      which is that as a consequence of being on the
6      entity list, that NSO is blocked from
7      purchasing technology from U.S. companies
8      without a license.
9                          So NSO, this is a quotation:                     NSO
10     can no longer legally buy Windows operating
11     systems, iPhones, Amazon Cloud services, the
12     kind of products it uses to run its business
13     and build its spyware.
14              Q.         That's a quote from a New Yorker
15     article?
16              A.         That is.
17              Q.         You said that this was not your
18     first encounter with the entity list.                             What
19     other times in your career have you dealt with
20     the entity list?
21                   ATTORNEY CORA:             Objection to the form.
22              A.         I was -- an instance I was made
23     aware of the entity list was when NSO was
24     added by the U.S. Government by the Department
25     of Commerce.             I became aware of that before I
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 97 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     was engaged in this case.
 2              Q.         All right.           But other than NSO
 3     being placed on the entity list, have you ever
 4     dealt with the entity list in any other
 5     context?
 6                   ATTORNEY CORA:             Objection to the form.
 7              A.         No, I've had no reason to.                    My
 8     first -- as far as I'm aware, this is the
 9     first time that the Department of Commerce
10     added an exploitation software company to its
11     list.
12              Q.         Do you know what government agency
13     or agencies administer the entity list?
14              A.         The U.S. Department of Commerce.
15              Q.         Any others?
16              A.         As far as I'm aware, it's the U.S.
17     Department of Commerce's Bureau of Industry
18     and Security -- Bureau of Industry and
19     Security.
20              Q.         And what's the process for adding
21     companies to the entity list, if you know?
22                   ATTORNEY CORA:             Objection to the form.
23              A.         Well, there is a definition for the
24     entity list here.                 So it describes what the
25     entity list is.               It says on Page 11:                The
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 98 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     entity list identifies entities for which
 2     there is reasonable cause to believe based on
 3     specific and articulable facts that the
 4     entities have been involved or involved -- are
 5     involved or pose a significant risk of being
 6     or becoming involved in activities contrary to
 7     the National Security or foreign policy
 8     interests of the United States.
 9                         I'm not going to read this whole
10     statement, but I don't know the details of the
11     process, but I know that this is the goal, the
12     purpose of the entity list, and I know that
13     the Department of Commerce has concluded that
14     the NSO and three other spyware companies
15     should be on that list.
16              Q.         Do you know what's entailed of any
17     investigation by the Department of Commerce?
18                   ATTORNEY CORA:             Objection to the form.
19     Outside the scope of his expert opinion.
20              A.         I don't know the details of the
21     investigation, if there was one that the U.S.
22     Department of Commerce performed.
23                         What I do know is that this rule,
24     this decision came off public outcry in the
25     cybersecurity community in the global
 Case 4:19-cv-07123-PJH          Document 509-6        Filed 01/09/25   Page 99 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                              Job 3460
     ANTHONY VANCE on 11-14-2024

 1     community in discussing democratic interests.
 2     This has been building over years as abuses by
 3     NSO, have become repeatedly documented, and
 4     culminating I think with the attack on the
 5     U.S. Embassy in Uganda.
 6                         So with this growing crescendo of
 7     concern for people around the world, I think
 8     that precipitated this decision.
 9              Q.         Do you know how it is that entities
10     are removed from the entity list or if it's
11     even possible?
12              A.         I'm not familiar.
13                   ATTORNEY CORA:             Objection to the form.
14              Q.         Do you know whether placement on
15     the entity list is a unilateral political
16     decision as opposed to the result of some sort
17     of adjudicative process?
18                  ATTORNEY CORA:              Objection to the form.
19              A.         I'm not familiar with that process.
20              Q.         Do you know what committee it is
21     that oversees the list and makes editions
22     about -- editions, removals, or other
23     modifications to it?
24              A.         I am not.
25              Q.         Have you ever published any paper
 Case 4:19-cv-07123-PJH         Document 509-6         Filed 01/09/25   Page 100 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1     article regarding the entity list?
 2              A.         No, I have not, but I teach about
 3     it in my courses.
 4              Q.         Okay.       And that's by referring to
 5     the Federal Register that you quote here in
 6     your rebuttal report?
 7                   ATTORNEY CORA:             Objection to the form.
 8              A.         I refer to this case of NSO being
 9     added to the entity lists.
10                         I also mentioned U.S. executive
11     order from the White House, and I will mention
12     the future courses, the sanction of the
13     U.S. Treasury Department against a competitor
14     of NSO of the same class of product, which is
15     Intellexa.            So those are three government
16     agencies or three government bodies who have
17     made determinations relative to NSO or a close
18     competitor of NSO because of perceived dangers
19     posed by those spyware vendors.
20              Q.         Well, Intellexa is a Russian
21     company; correct?
22              A.         I'm not sure.
23              Q.         Okay.       Do you hold yourself out as
24     an expert in U.S. export control laws?
25              A.         No, I'm an expert in cybersecurity
 Case 4:19-cv-07123-PJH         Document 509-6         Filed 01/09/25   Page 101 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1     and that is relevant to this discussion.
 2              Q.         Are you an expert in international
 3     trade law?
 4              A.         No, but I'm an expert in
 5     cybersecurity, which I also see as relevant to
 6     this matter.
 7              Q.         Are you an expert in National
 8     Security?
 9              A.         Insofar as National Security
10     intersects with cybersecurity, yes.
11              Q.         On Page 11 of your rebuttal report,
12     you refer to the U.S. Government has
13     sanctioned NSO Group specifically?
14              A.         You're reading the heading?                     Yes.
15              Q.         Yes.      So and there is two parts
16     here, the U.S. Government has sanctioned NSO
17     Group specifically and barred commercial
18     spyware generally; right?
19              A.         That's what my heading says.
20              Q.         Okay.       And the first half of that
21     sentence is a reference to the entity list
22     placement; correct?
23              A.         That is correct.
24              Q.         Okay.       And the second part is a
25     reference to the executive order; correct?
 Case 4:19-cv-07123-PJH         Document 509-6         Filed 01/09/25   Page 102 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1              A.         Yes.
 2              Q.         Okay.       On Page 20 of your rebuttal
 3     report, you refer to this formula?
 4              A.         Yes.
 5              Q.         You said you've reviewed the
 6     deposition testimony of Claudiu Gheorghe;
 7     right?
 8              A.         I have.
 9              Q.         Okay.       And his testimony was that
10     the Pegasus messages did not execute any code
11     on any WhatsApp server.
12                         Do you recall that?
13                   ATTORNEY CORA:             Objection to the form.
14              A.         I don't remember the precise
15     wording of what he said, but he said something
16     to that effect.
17              Q.         Okay.       His testimony was that the
18     Pegasus messages did not impair the
19     availability of the WhatsApp service; correct?
20                   ATTORNEY CORA:             Objection to the form.
21              A.         Again, I don't remember the precise
22     wording.          We can discuss the precise wording
23     if you wish, but I recall he spoke on that
24     topic.
25              Q.         Okay.       My question really is:                 Do
 Case 4:19-cv-07123-PJH         Document 509-6         Filed 01/09/25   Page 103 of 103
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Job 3460
     ANTHONY VANCE on 11-14-2024

 1                                     CERTIFICATE OF REPORTER

 2

 3           I, Richard Germosen, a New Jersey Certified
       Shorthand Reporter, California Certified Shorthand
 4     Reporter, do hereby certify:
             That prior to being examined, the witness in
 5     the foregoing deposition was by me duly sworn to
       testify to tell the truth, the whole truth, and
 6     nothing but the truth.
             That the foregoing deposition was taken in
 7     person at the time and date therein set forth and was
       taken down by me in shorthand and thereafter
 8     transcribed into typewriting under my direction and
       supervision; said transcript being a true record of
 9     said proceedings.
             I further certify that l am neither counsel
10     for, nor related to, any of the parties to said
       deposition, nor in any way interested in the outcome
11     of this cause.
             Further, that if the foregoing pertains to the
12     original transcript of a deposition in a federal
       case, before completion of the proceedings, review of
13     the transcript was not requested.
             In witness whereof, I have hereunto subscribed
14     my name on this 21st day of November 2024.

15     Richard Germosen, CCR-NJ, CSR-CA #1439]

16

17     -----------------------------------
       RICHARD GERMOSEN,
18     FAPR, RDR, CRR, CCR-NJ, CRCR, CSR-CA, CCRR-CA,
       NYACR, NYRCR
19     LICENSE NO. 30XI00184700
       LICENSE NO. 30XR00016800
20     California CSR No. 14391
       California CRR No. 198
21

22

23

24

25
